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8                                       UNITED STATES DISTRICT COURT

9                                  CENTRAL DISTRICT OF CALIFORNIA

10                                            EASTERN DIVISION

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12   APRIL KIRKMAN,                                )   No. ED CV 17-2010-AG (PLA)
                                                   )
13                         Plaintiff,              )
                                                   )
14                  v.                             )   ORDER DISMISSING FIRST AMENDED
                                                   )   COMPLAINT WITH LEAVE TO AMEND
15   USA CONGRESS, et al.,                         )
                                                   )
16                         Defendants.             )
                                                   )
17                                                 )

18           Plaintiff filed a pro se civil rights action herein on October 2, 2017. (ECF No. 1).1 Plaintiff

19   subsequently was granted leave to proceed in forma pauperis (“IFP”). (ECF No. 10). On October

20   3, 2017, the assigned District Judge denied plaintiff’s application for a temporary restraining order

21   because of the many deficiencies in plaintiff’s application. (ECF No. 5). The District Judge noted,

22   among other deficiencies, that the documents that plaintiff had filed do not “clearly show” any

23   “supposed threat of immediate or irreparable injury sufficient to justify” the emergency relief of a

24   temporary restraining order. (Id. at 2). Further, plaintiff had failed to show that she is “likely to

25   succeed on the merits,” and she had not “explained what this case is about.” (Id.). The District

26   Judge apprised plaintiff of the availability of “significant resources” for people appearing without

27   the assistance of counsel at the “Federal Pro Se Clinic” at the Santa Ana Federal Courthouse.

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            This case was reassigned to the below Magistrate Judge on April 30, 2018. (ECF No. 13).
1    (Id.). In addition, plaintiff was admonished that, if she decides to proceed in this action without

2    representation of counsel, she will be “bound by the rules of procedure” for federal court cases.

3    (Id. at 3); see, e.g., Briones v. Riviera Hotel & Casino, 116 F.3d 379, 382 (9th Cir. 1997) (“pro se

4    litigants are not excused from following court rules”); Local Rule 1-3.

5           Plaintiff filed the operative pleading herein, the First Amended Complaint (“FAC”), on April

6    26, 2018. (ECF No. 11). The caption of the FAC names only the “United States Congress” and

7    then states “refer to attached #2.” Plaintiff did not file any attachments with the FAC. (See ECF

8    No. 11). Within the body of the FAC, plaintiff also appears to list other defendants, including two

9    divisions of the Riverside County “Department of Public Social Services.” (Id. at 2). Plaintiff did

10   file an Amended Certification and Notice of Interested Parties (“Notice”), which references an

11   “Attached #1” and an “Attached #2” (ECF No. 12 at 1), and appears to list multiple minor children

12   in an “Attachment #1” (id. at 2), and multiple defendants in another attachment (id. at 3-4). Plaintiff

13   is admonished that this Notice is not part of plaintiff’s FAC. Pursuant to Fed. R. Civ. P. 10, the

14   caption of a complaint must include all defendants listed in the body of the pleading. Accordingly,

15   to the extent that plaintiff wishes to name any defendant listed in any attachment, she must clearly

16   set forth each such defendant in both the caption of a Second Amended Complaint and in the

17   body of the same document. Further, to the extent that plaintiff is purporting to file this action on

18   behalf of other plaintiffs (see ECF No. 11 at 1 (“see attached #1” indicated in area in which to list

19   plaintiffs)), as a non-attorney, plaintiff may not represent the claims of any other individual, even

20   her minor children. See C.E. Pope Equity Trust v. United States, 818 F.2d 696, 697 (9th Cir.

21   1987). A non-attorney parent may not litigate a claim on behalf of a minor child. Johns v. County

22   of San Diego, 114 F.3d 874, 877 (9th Cir. 1997) (“a parent or guardian cannot bring an action on

23   behalf of a minor child without retaining a lawyer”).

24          Because plaintiff is proceeding IFP in this civil action, the Court has screened the FAC

25   pursuant to 28 U.S.C. § 1915(e)(2) prior to ordering service for the purpose of determining

26   whether the action is frivolous or malicious; or fails to state a claim on which relief may be granted;

27   or seeks monetary relief against a defendant who is immune from such relief. Section 1915(e)(2)

28   applies to any action by a litigant who is proceeding IFP. See, e.g., Shirley v. Univ. of Idaho, 800

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1    F.3d 1193 (9th Cir. 2015) (citing 28 U.S.C. § 1915(e)(2) and noting that a “district court shall

2    screen and dismiss an action filed by a plaintiff proceeding in forma pauperis”); Lopez v. Smith,

3    203 F.3d 1122, 1127, n.7 (9th Cir. 2000) (“section 1915(e) applies to all in forma pauperis

4    complaints” and “district courts [should] dismiss a complaint that fails to state a claim upon which

5    relief may be granted”) (en banc).

6           The Court’s screening of the pleading under the foregoing statute is governed by the

7    following standards. A complaint may be dismissed as a matter of law for failure to state a claim

8    for two reasons: (1) lack of a cognizable legal theory; or (2) insufficient facts under a cognizable

9    legal theory. Balistreri v. Pacifica Police Dep’t, 901 F.2d 696, 699 (9th Cir. 1990); see also Rosati

10   v. Igbinoso, 791 F.3d 1037, 1039 (9th Cir. 2015) (in determining whether a complaint should be

11   dismissed under 28 U.S.C. §1915(e)(2), courts apply the standard of Fed. R. Civ. P. 12(b)(6)).

12   Further, with respect to a plaintiff’s pleading burden, the Supreme Court has held that: “a plaintiff’s

13   obligation to provide the ‘grounds’ of his ‘entitle[ment] to relief’ requires more than labels and

14   conclusions, and a formulaic recitation of the elements of a cause of action will not do. … Factual

15   allegations must be enough to raise a right to relief above the speculative level.” Bell Atlantic

16   Corp. v. Twombly, 550 U.S. 544, 555, 127 S. Ct. 1955, 167 L. Ed. 2d 929 (2007) (internal citations

17   omitted, alteration in original); see also Ashcroft v. Iqbal, 556 U.S. 662, 668, 129 S. Ct. 1937, 173

18   L. Ed. 2d 868 (2009) (To avoid dismissal for failure to state a claim, “a complaint must contain

19   sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’

20   A claim has facial plausibility when the plaintiff pleads factual content that allows the court to draw

21   the reasonable inference that the defendant is liable for the misconduct alleged.” (internal citation

22   omitted)). Since plaintiff is appearing pro se, the Court must construe the allegations of the

23   pleading liberally and must afford plaintiff the benefit of any doubt. See Hebbe v. Pliler, 627 F.3d

24   338, 342 (9th Cir. 2010). Finally, in determining whether a complaint states a claim on which relief

25   may be granted, allegations of material fact are taken as true and construed in the light most

26   favorable to plaintiff. Love v. United States, 915 F.2d 1242, 1245 (9th Cir. 1989). However, the

27   “tenet that a court must accept as true all of the allegations contained in a complaint is inapplicable

28   to legal conclusions.” Iqbal, 556 U.S. at 678.

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1           After careful review of the FAC under the foregoing standards, the Court finds that plaintiff’s

2    allegations appear insufficient to state a claim against the named defendant. Accordingly, the FAC

3    is dismissed with leave to amend. See Noll v. Carlson, 809 F.2d 1446, 1448 (9th Cir. 1987)

4    (holding that a pro se litigant must be given leave to amend his complaint unless it is absolutely

5    clear that the deficiencies of the complaint cannot be cured by amendment).

6           If plaintiff desires to pursue this action, she is ORDERED to file a Second Amended

7    Complaint no later than June 20, 2018, remedying the deficiencies discussed below.

8    Further, plaintiff is admonished that, if she fails to timely file a Second Amended Complaint

9    or fails to remedy the deficiencies of this pleading as discussed herein, the Court will

10   recommend that the action be dismissed without further leave to amend and with

11   prejudice.2

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13                                                DISCUSSION

14          Plaintiff’s FAC fails to comply with Federal Rule of Civil Procedure 8(a) and 8(d). Fed. R.

15   Civ. P. 8(a) states:

16                  A pleading that states a claim for relief must contain: (1) a short and
                    plain statement of the grounds for the court’s jurisdiction, unless the
17                  court already has jurisdiction and the claim needs no new jurisdictional
                    support; (2) a short and plain statement of the claim showing that
18                  the pleader is entitled to relief; and (3) a demand for the relief
                    sought, which may include relief in the alternative or different types of
19                  relief.

20   (Emphasis added). Rule 8(d)(1) provides: “Each allegation must be simple, concise, and direct.

21   No technical form is required.” (Emphasis added). Although the Court must construe a pro se

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23           Plaintiff is advised that this Court’s determination herein that the allegations in the First
     Amended Complaint are insufficient to state a particular claim should not be seen as dispositive
24   of that claim. Accordingly, while this Court believes that you have failed to plead sufficient factual
     matter in your pleading, accepted as true, to state a claim to relief that is plausible on its face, you
25
     are not required to omit any claim or defendant in order to pursue this action. However, if you
26   decide to pursue a claim in a Second Amended Complaint that this Court has found to be
     insufficient, then this Court, pursuant to the provisions of 28 U.S.C. § 636, ultimately will submit
27   to the assigned district judge a recommendation that such claim be dismissed with prejudice for
     failure to state a claim, subject to your right at that time to file Objections with the district judge as
28   provided in the Local Rules Governing Duties of Magistrate Judges.

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1    plaintiff’s pleadings liberally, a plaintiff nonetheless must allege a minimum factual and legal basis

2    for each claim that is sufficient to give each defendant fair notice of what plaintiff’s claims are and

3    the grounds upon which they rest. See, e.g., Brazil v. United States Department of the Navy, 66

4    F.3d 193, 199 (9th Cir. 1995); McKeever v. Block, 932 F.2d 795, 798 (9th Cir. 1991) (complaint

5    must give defendants fair notice of the claims against them). If a plaintiff fails to clearly and

6    concisely set forth allegations sufficient to provide defendants with notice of which defendant is

7    being sued on which theory and what relief is being sought against them, the complaint fails to

8    comply with Rule 8. See, e.g., McHenry v. Renne, 84 F.3d 1172, 1177-79 (9th Cir. 1996); Nevijel

9    v. Northcoast Life Ins. Co., 651 F.2d 671, 674 (9th Cir. 1981). Moreover, failure to comply with

10   Rule 8 constitutes an independent basis for dismissal of a complaint that applies even if the claims

11   in a complaint are not found to be wholly without merit. See McHenry, 84 F.3d at 1179; Nevijel,

12   651 F.2d at 673.

13          Initially, plaintiff only names the “United States Congress” as a defendant. (ECF No. 11 at

14   1). As a general rule, the United States enjoys sovereign immunity, and this immunity extends to

15   federal agencies and officers acting in their official capacities. Absent a waiver, sovereign

16   immunity shields the federal government and its agencies from suit, and absent that waiver,

17   courts lack jurisdiction to hear claims against the United States. Accordingly, this Court lacks

18   subject matter jurisdiction to hear any constitutional tort claims against the United States and its

19   agencies, because the United States has not waived sovereign immunity with respect to such

20   claims. See, e.g., Jachetta v. United States, 653 F.3d 898, 904 (9th Cir. 2011) (citing FDIC v.

21   Meyer, 510 U.S. 471, 478, 114 S. Ct. 996, 127 L. Ed. 2d 308 (1994)); Clemente v. United States,

22   766 F.2d 1358, 1363 (9th Cir.1985); Gilbert v. DaGrossa, 756 F.2d 1455, 1460 n.6 (9th Cir. 1985).

23   Further, the “bar of sovereign immunity cannot be avoided by naming officers and employees of

24   the United States as defendants.” Gilbert, 756 F.2d at 1458.

25          Additionally, plaintiff appears to list state agencies as defendants in the body of the FAC.

26   (ECF No. 11 at 2). The state of California and its agencies also are entitled to sovereign immunity.

27   In Will v. Michigan Department of State Police, 491 U.S. 58, 64-66, 109 S. Ct. 2304, 105 L. Ed.

28   2d 45 (1989), the Supreme Court held that states, state agencies, and state officials sued in their

                                                       5
1    official capacities are not persons subject to civil rights suits under 42 U.S.C. § 1983. In addition,

2    the Eleventh Amendment bars federal jurisdiction over suits by individuals against a State and its

3    instrumentalities, unless either the State consents to waive its sovereign immunity or Congress

4    abrogates it. Pennhurst State School & Hosp. v. Halderman, 465 U.S. 89, 99-100, 104 S. Ct. 900,

5    79 L. Ed. 2d 67 (1984). To overcome this Eleventh Amendment bar, the State’s consent or

6    Congress’ intent must be “unequivocally expressed.” Pennhurst, 465 U.S. at 99. While California

7    has consented to be sued in its own courts pursuant to the California Tort Claims Act, such

8    consent does not constitute consent to suit in federal court. See BV Engineering v. Univ. of

9    California, 858 F.2d 1394, 1396 (9th Cir. 1988); see also Atascadero State Hospital v. Scanlon,

10   473 U.S. 234, 241, 105 S. Ct. 3142, 87 L. Ed. 2d 171 (1985) (holding that Art. III, § 5 of the

11   California Constitution does not constitute a waiver of California’s Eleventh Amendment immunity).

12   Finally, Congress has not repealed State sovereign immunity against suits under 42 U.S.C. §

13   1983. Accordingly, any state agency is immune from all civil rights claims raised pursuant to §

14   1983. See Pennhurst, 465 U.S. at 100 (“This jurisdictional bar applies regardless of the nature

15   of the relief sought.”); Alabama v. Pugh, 438 U.S. 781, 782, 98 S. Ct. 3057, 57 L. Ed. 2d 1114

16   (1978) (per curiam) (the Eleventh Amendment bars claim for injunctive relief against Alabama and

17   its Board of Corrections).

18          Moreover, even if plaintiff were to name other defendants who are not entitled to immunity,

19   it is not clear to the Court what federal civil rights claims plaintiff is purporting to raise. Plaintiff

20   states the following “facts” in her FAC: “On June 15, 2015, child #1 was removed in Las Vegas

21   NV[;] on April 1, 2016, child #2, #3 were removed in Kiaser Perm. [sic] in Riverside, CA[;] on Aug.

22   31, 2017, child #2, #3 were removed from home in San Jacinto, CA.” (ECF No. 11 at 5). No

23   specific claims are set forth in the FAC. Plaintiff merely references “violations of civil, human

24   rights” (id. at 3), and a “severance of this family bond” (id. at 5), but it is not clear what federal civil

25   rights claims plaintiff is intending to raise. Further, to the extent that plaintiff may be alleging that

26   a child or children were removed in violation of state law, pursuant to 28 U.S.C. § 1331, this Court

27   does not have original jurisdiction of any claim that does not arise “under the Constitution, laws,

28   or treaties of the United States.” “‘Federal courts are courts of limited jurisdiction,’ possessing

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1    ‘only that power authorized by Constitution and statute.’” Gunn v. Minton, 568 U.S. 251, 133 S.

2    Ct. 1059, 1064, 185 L. Ed. 2d 72 (2013) (quoting Kokkonen v. Guardian Life Ins. Co. of Am., 511

3    U.S. 375, 377, 114 S. Ct. 1673, 128 L. Ed. 2d 391 (1994)). “A federal court is presumed to lack

4    jurisdiction in a particular case unless the contrary affirmatively appears.” Stevedoring Servs. of

5    Am. v. Eggert, 953 F.2d 552, 554 (9th Cir. 1992). In addition, a plaintiff must present a federal

6    question on the face of a complaint. See Rivet v. Regions Bank of La., 522 U.S. 470, 475, 118

7    S. Ct. 921, 139 L. Ed. 2d 912 (1998); Provincial Gov’t of Marinduque v. Placer Dome, Inc., 582

8    F.3d 1083, 1086 (9th Cir. 2009) (in order for a federal court to exercise federal question jurisdiction

9    under §1331, “the federal question must be disclosed upon the face of the complaint” (internal

10   quotation marks omitted)). Further, a “plaintiff bears the burden of proving” the existence of

11   subject matter jurisdiction and “must allege facts, not mere legal conclusions” to support the

12   court’s jurisdiction Leite v. Crane Co., 749 F.3d 1117, 1121 (9th Cir. 2014). Here, it does not

13   appear that the face of the FAC presents a federal question and, moreover, the only named

14   defendant is immune from any federal civil rights claims that plaintiff may be purporting

15   to raise.

16          Accordingly, to the extent that plaintiff may be intending to allege a federal civil rights claim

17   against any individual defendant who is not immune from suit, plaintiff should set forth factual

18   allegations that such individual took an affirmative action, participated in the action of another, or

19   failed to take an action that he or she was legally required to do that caused a constitutional

20   violation. In order to state a federal civil rights claim against a particular defendant, plaintiff must

21   allege that a specific defendant, while acting under color of state law, deprived her of a right

22   guaranteed under the United States Constitution or a federal statute. See West v. Atkins, 487

23   U.S. 42, 48, 108 S. Ct. 2250, 101 L. Ed. 2d 40 (1988). “A person deprives another ‘of a

24   constitutional right, within the meaning of section 1983, if he does an affirmative act, participates

25   in another’s affirmative acts, or omits to perform an act which he is legally required to do that

26   causes the deprivation of which [the plaintiff complains].’” Leer v. Murphy, 844 F.2d 628, 633 (9th

27   Cir. 1988) (quoting Johnson v. Duffy, 588 F.2d 740, 743 (9th Cir. 1978) (emphasis and alteration

28   in original)). As the Supreme Court has made clear, plaintiff must plead “more than labels and

                                                        7
1    conclusions.” Twombly, 550 U.S. at 555.

2           Accordingly, it is not clear to the Court what the legal or factual basis may be for any federal

3    civil rights claim that plaintiff may be raising, nor is it clear what defendant plaintiff wishes to raise

4    any federal civil rights claim against. The Court is mindful that, because plaintiff is appearing pro

5    se, the Court must construe the allegations of the Complaint liberally and must afford plaintiff the

6    benefit of any doubt. Further, the Court may not dismiss a claim because a pro se plaintiff has

7    failed to set forth a complete legal theory supporting the claim alleged. See Johnson v. City of

8    Shelby, 135 S. Ct. 346, 346, 190 L. Ed. 2d 309 (2014) (per curiam) (noting that the Fed. Rules of

9    Civ. Proc. “do not countenance dismissal of a complaint for imperfect statement of the legal theory

10   supporting the claim asserted”). That said, the Supreme Court has made clear that the Court has

11   “no obligation to act as counsel or paralegal to pro se litigants.” Pliler v. Ford, 542 U.S. 225, 231,

12   124 S. Ct. 2441, 159 L. Ed. 2d 338 (2004); see also Noll, 809 F.2d at 1448 (“courts should not

13   have to serve as advocates for pro se litigants”).

14          Although plaintiff need not set forth detailed factual allegations, she must plead “factual

15   content that allows the court to draw the reasonable inference that the defendant is liable for the

16   misconduct alleged.” Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at 555-56). A pleading

17   that merely alleges “naked assertion[s] devoid of further factual enhancement” is insufficient. Id.

18   (alteration in original, internal quotation marks omitted). In its present format, it is not clear what

19   factual allegations support any federal civil rights claim against any defendant.

20          Therefore, the Court finds that plaintiff’s FAC fails to comply with Rule 8 and fails to state

21   a claim on which relief may be granted.

22                                                  ************

23          If plaintiff desires to pursue this action, she must file a Second Amended Complaint

24   no later than June 20, 2018; the Second Amended Complaint must bear the docket number

25   assigned in this case; be labeled “Second Amended Complaint”; and be complete in and of itself

26   without reference to the original Complaint, the First Amended Complaint, or any other pleading,

27   attachment or document. Further, if plaintiff chooses to proceed with this action, plaintiff must use

28   the blank Central District civil rights complaint form accompanying this order, must sign and date

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1    the form, must completely and accurately fill out the form, and must use the space provided

2    in the form to set forth all of the claims that she wishes to assert in a Second Amended Complaint.

3            The Clerk is directed to provide plaintiff with a blank Central District civil rights complaint

4    form.

5            Further, plaintiff is admonished that, if she fails to timely file a Second Amended

6    Complaint or fails to remedy the deficiencies of this pleading as discussed herein, the

7    Court will recommend that the action be dismissed without further leave to amend and with

8    prejudice.

9            As the District Judge previously advised plaintiff, the U.S. District Court for the Central

10   District of California operates a pro se clinic at the Santa Ana Federal Courthouse for parties

11   proceeding without an attorney. Visitors to the clinic must make an appointment by calling (714)

12   541-1010 (x222). The clinic is located in Room 1055 of the Ronald Reagan Federal Building and

13   United States Courthouse, 411 W. 4th Street, Santa Ana, CA. More information can be found at

14   http://court.cacd.uscourts.gov/cacd/ProSe.nsf and selecting “Pro Se Clinic - Santa Ana.”

15           In addition, if plaintiff no longer wishes to pursue this action, she may request a voluntary

16   dismissal of the action pursuant to Federal Rule of Civil Procedure 41(a). The clerk also is

17   directed to attach a Notice of Dismissal form for plaintiff’s convenience.

18           IT IS SO ORDERED.

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     DATED: May 22, 2018
20                                                                    PAUL L. ABRAMS
                                                             UNITED STATES MAGISTRATE JUDGE
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